        Case 2:17-cv-02652-JAR-KGG Document 21 Filed 08/09/18 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

BRENDA HEUER,                                )
                                             )         2:17-cv-02652-JAR-KGG
                       Plaintiff,            )
                                             )         Judge Robinson
        v.                                   )         Magistrate Judge Gale
                                             )
MCPHERSON & MCVEY LAW                        )
OFFICES, CHTD.,                              )
                                             )
                       Defendant.            )

                      STIPULATION TO DISMISS WITH PREJUDICE

        By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

        1.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

               parties hereby stipulate and agree that the above-captioned action should be

               dismissed.

        2.     The parties, by agreement, respectfully request that this case be dismissed with

               prejudice and without costs to any party.

Date:          August 9, 2018

For Plaintiff,                                       For Defendant,
Brenda Heuer                                         McPherson & McVey Law Offices, Chtd

  s/ Mandy M. Shell                                    s/ David E. Larson
SmithMarco, P.C.                                     Martin Pringle Oliver Wallace & Bauer, LLP
1656 Washington St., Ste. 120                        4435 Main Street, Suite 920
Kansas City, Missouri 64108                          Kansas City, MO 64111-1945
Telephone: (913) 879-1001                            Telephone:     (816) 753-6006
Facsimile: (888) 418-1277                            Facsimile:     (816) 753-6006
E-Mail:      mshell@smithmarco.com                   E-mail:        delarson@martinpringle.com




                                                 1
